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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

  COLONEL FINANCIAL MANAGEMENT
  OFFICER, et al.,
                           Plaintiffs,
                                                   Case No. 8:22-cv-1275 (SDM/TGW)
        v.
  LLOYD AUSTIN, in his official capacity as
  Secretary of the United States Department of
  Defense, et al.,
                           Defendants.


  NAVY SEAL 1, et al.,
                           Plaintiffs,
        v.                                         Case No. 8:21-cv-2429 (SDM/TGW)
  LLOYD AUSTIN, in his official capacity as
  Secretary of the United States Department of
  Defense, et al.,
                           Defendants.


          DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        Pursuant to Local Rule 3.01(i), Defendants hereby notify the Court of

  supplemental authority related to the Defendants’ pending Motion to Dismiss for

  Mootness, or for an Indicative Ruling to Dissolve Injunctions, ECF No. 275. Two

  additional Courts of Appeal have acted on mootness issues in cases challenging the

  armed services’ vaccination requirements for COVID-19 following rescission of that

  requirement.   Both the Eighth Circuit and the D.C. Circuit Courts of Appeals

  dismissed Service members’ appeals from the denial of preliminary injunctions

  prohibiting enforcement of the military’s COVID-19 vaccination requirement, finding

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  moot those requests for injunctive relief. See Roth v. Austin, No. 22-2058, 2023 WL

  2531885 (8th Cir. Mar. 16, 2023) (unanimously concluding that issue was moot in

  light of statutory rescission); Navy Seal 1 v. Austin, Nos. 22-5114, 22-5135, 2023 WL

  2482927 (D.C. Cir. Mar. 10, 2023) (per curiam) (dismissing appeals and vacating

  judgments as moot).

  Dated: March 17, 2023                     Respectfully submitted,

  BRIAN M. BOYNTON                          /s/ Amy. E. Powell
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  General                                   AMY E. POWELL
                                            Senior Trial Counsel
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